
The majority concludes that the petitioners presented enough evidence to meet the burden of showing that they were "parties aggrieved." I disagree.
The only evidence presented by the petitioners concerned their fears of having this facility in proximity to their properties and their fear that their properties would be reduced in value. However, the petitioners' own expert testified that such a use variance did not have a significant impact upon the residential character of the neighboring property. He testified that the wooded buffer zone between the facility's property and the petitioners' property would partially obstruct visibility of the facility.
Based upon the evidence presented, I conclude that the petitioners here did not present sufficient proof of any adverse effect that the changed status of the rezoned property has, or could have, on the use, enjoyment, and value of their property. Crowder v. Zoning Board of Adjustment, 406 So.2d 917
(Ala.Civ.App. 1981); Cox v. Poer, 45 Ala. App. 295,229 So.2d 797 (1969). Therefore, I must respectfully dissent.